
35 Mich. App. 603 (1971)
192 N.W.2d 661
DILLON
v.
S.S. KRESGE COMPANY.
Docket No. 11074.
Michigan Court of Appeals.
Decided August 26, 1971.
Goodman, Eden, Robb, Millender, Goodman &amp; Bedrosian, for plaintiffs.
Plunkett, Cooney, Rutt &amp; Peacock (by William D. Booth and Stanley A. Prokop), for defendant.
Before: LESINSKI, C.J., and J.H. GILLIS and V.J. BRENNAN, JJ.

MEMORANDUM OPINION.
The complaint alleged that plaintiff, Ethel Dillon, while pregnant and employed at defendant's store, contracted the disease rubella because of defendant's negligence in failing to maintain sanitary conditions. As a result, the child, plaintiff Reginald Dillon, suffered serious and permanent injuries.
Defendant filed a motion for summary judgment based upon Newman v. City of Detroit (1937), 281 Mich 60, and Marlow v. Krapek (1969), 20 Mich App 489, which decisions denied recovery under these facts. On November 23, 1970, the Wayne Circuit Judge entered an order for summary judgment of dismissal.
In light of the Supreme Court's decision in Womack v. Buchhorn (1971), 384 Mich 718, we reverse and remand for a trial on the merits.
